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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                 10/19/2020
SECURITIES AND EXCHANGE COMMISSION,                                    :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20-CV-6437 (JPC)
                  -v-                                                  :
                                                                       :     NOTICE OF
ROSS BARISH,                                                           :   REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. Unless and until the Court orders

otherwise, all prior orders, dates, and deadlines shall remain in effect notwithstanding the case’s

reassignment. The Initial Pretrial Conference scheduled for November 20, 2020, at 3:30 p.m. is

hereby adjourned to December 9, 2020, at 2:30 p.m. In light of the ongoing COVID-19 pandemic,

the Court will conduct the conference by teleconference. At the scheduled time, counsel for all

parties should call (866) 434-5269, access code 9176261. Absent leave of Court obtained by letter-

motion filed before the conference, all pretrial conferences must be attended by the attorney who

will serve as principal trial counsel. All counsel must familiarize themselves with the Court’s

Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

        It is further ORDERED that the parties shall submit a joint letter of no more than five pages

by December 2, 2020 addressing the following in separate paragraphs: (1) a brief description of

the case, including the factual and legal bases for the claim(s) and defense(s); (2) any contemplated

motions; (3) the basis for subject matter jurisdiction; and (4) the prospect for settlement. By that

date, the parties shall also submit to the Court a proposed case management plan and scheduling

order, a template of which is available at https://www.nysd.uscourts.gov/hon-john-p-cronan.
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       If this case has been settled or otherwise terminated, counsel are not required to submit

such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or other

proof of termination is filed on the docket prior to the joint letter submission deadline, using the

appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19, available at

http://nysd.uscourts.gov/ecf_filing.php. In accordance with the Court’s Individual Rules and

Practices, requests for extensions or adjournment may be made only by letter-motion filed on ECF

and must be received at least 48 hours before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests

were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 19, 2020                               __________________________________
       New York, New York                                      JOHN P. CRONAN
                                                             United States District Judge




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